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 1                                                             THE HONORABLE RICHARD A. JONES
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 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 8

 9   BLACK LIVES MATTER SEATTLE-                           No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                               DECLARATION OF STEPHEN LAGREE
     KYASHNA-TOCHA, ALEXANDER                              IN SUPPORT OF PLAINTIFFS’ MOTION
11   WOLDEAB, NATHALIE GRAHAM,                             FOR CONTEMPT
     AND ALEXANDRA CHEN,
12
                               Plaintiffs,
13
              v.
14
     CITY OF SEATTLE,
15
                               Defendant.
16

17
              I, Stephen Lagree, declare and state as follows:
18
              1.       The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
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              2.       I’ve lived in the Seattle for three years. I currently live in the Beacon Hill area. I
21
     am a software engineer.
22
              3.       Before Saturday, July 25, 2020, I participated in protests in Capitol Hill against
23
     police violence on several days, evenings, and nights in early June. I have never seen police
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     violence like I experienced and witnessed when I participated in the protest on July 25, 2020. On
25
     that day, I was at the protest from approximately 3 p.m. to 7 p.m.
26

      LAGREE DECL. ISO MOT. FOR                                                      Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –1                                      1201 Third Avenue, Suite 4900
                                                                                 Seattle, WA 98101-3099
                                                                                   Phone: 206.359.8000
     149075205.1                                                                    Fax: 206.359.9000
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 1            4.       On Saturday, July 25, 2020, around 5 p.m., I was near the front of the protest lines
 2   at Broadway and Pine. Along with others, I was chanting. Without any warning and without any
 3   order to disperse, police started using some kind of chemical gas and people started running. I
 4   stayed where I was because I had goggles on and I wasn’t as impacted. Someone handed me a
 5   leaf blower and I used it to try to blow the gas away from protesters.
 6            5.       Then I got hit twice, extremely hard, by projectiles, one in each thigh. I
 7   couldn’t tell what they were but they left huge tennis ball sized lacerations. I ran away to
 8   avoid getting hit again and stopped on the hill in the park by Seattle Central College. While
 9   checking my wounds, I got hit again in the back. This time, it was from further away so the
10   impact wasn’t as bad. I ran again to get further away.
11            6.       My leg wounds hurt a lot and I had to sit down and get a street medic to check
12   them out and dress them.
13            7.       Later, my thighs swelled a tremendous amount and turned black and blue. They
14   swelled up even more the next day and are still very swollen today.
15            8.       I didn’t seek additional care, but I consulted with my brother-in-law who is a
16   medical doctor. After reviewing the photos, he told me how to care for the wounds, including
17   what to look for that might indicate that I needed to go to urgent care or the emergency room.
18            9.       My injuries, sustained over a week ago, continue to cause me pain. I consider
19   myself lucky, though. I’ve read about protesters in other cities who have been blinded or had
20   their testicles ruptured by projectiles. A slight shift in aim and the injuries I sustained on my
21   upper thighs could easily have hit me in a particularly sensitive area.
22            10.      True and correct photos taken on July 25, 2020, of my injuries are attached hereto
23   as Exhibits A – E.
24            11.      True and correct photos taken on July 26, 2020, of my injuries are attached hereto
25   as Exhibits F – H.
26

      LAGREE DECL. ISO MOT. FOR                                                   Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –2                                   1201 Third Avenue, Suite 4900
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                                                                                Phone: 206.359.8000
     149075205.1                                                                 Fax: 206.359.9000
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 1            12.      True and correct photos taken on July 27, 2020, of my injuries are attached hereto
 2   as Exhibits I – J.
 3            13.      True and correct photos taken on July 29, 2020, of my injuries are attached hereto
 4   as Exhibits K – M.
 5            14.      True and correct photos taken on Aug. 2, 2020, of my injuries are attached hereto
 6   as Exhibits N – O.
 7            15.      Since being injured, I have mostly stayed at home. I intend to rejoin the protests
 8   after I am sufficiently healed, though I am fearful of being injured again.
 9
              Executed this 3rd day of August 2020 at Seattle, Washington.
10
              I declare under penalty of perjury under the laws of the United States and the State of
11
     Washington that the foregoing is true and correct.
12
                                                                         By:________________________
13                                                                                 STEPHEN LAGREE
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      LAGREE DECL. ISO MOT. FOR                                                    Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –3                                   1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
     149075205.1                                                                 Fax: 206.359.9000
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           EXHIBIT B
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           EXHIBIT C
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            EXHIBIT D
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            EXHIBIT E
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            EXHIBIT F
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            EXHIBIT G
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            EXHIBIT H
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             EXHIBIT J
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            EXHIBIT K
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            EXHIBIT L
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           EXHIBIT M
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            EXHIBIT N
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            EXHIBIT O
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